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Attorneys for Buganko, LLC

IN THE UNITED STATES BANKRUPTCY COURT

CENTRAL DISTRICT OF CALIFORNIA

In re

HVI CAT CANYON, INC.

Debtor.

NORTHERN DIVISION

 

CASE NO. 9:19-bk-11573-MB
(Chapter 11)

BUGANKO, LLC’S JOINDER TO:

(1) CALIFORNIA STATE LANDS
COMMISSION’S LIMITED OBJECTION TO
APPLICATION FOR ORDER AUTHORIZING
AND APPROVING THE EMPLOYMENT OF
PACHULSKI STANG ZIEHL & JONES LLP
AS COUNSEL FOR THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS,
EFFECTIVE AS OF AUGUST 16, 2019
[DOCKET NO. 346]; AND

(2) CALIFORNIA STATE LANDS
COMMISSION’S LIMITED OBJECTION TO
APPLICATION OF THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS
FOR AUTHORIZATION TO RETAIN AND
EMPLOY CONWAY MACKENZIE, INC. AS
FINANCIAL ADVISOR, EFFECTIVE AS
OF AUGUST 16, 2019 [DOCKET NO.
347]

 
Law Offices of
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924 Anacapa St. Ste IM
Santa Barbara. CA 93101

 

Date: October 28, 2019

Time: 10:00 a.m.

Place: 1415 State St.
Santa Barbara, CA 93101
Courtroom 202

Judge: Martin R. Barash

Nee ee ee

 

Buganko, LLC (“Buganko), hereby joins: (1) California State
Lands Commission’s Limited Objection to Application for Order
Authorizing And Approving The Employment Of Pachulski Stang Ziehl &
Jones LLP as Counsel for the Official Committee of Unsecured
Creditors, Effective as of August 16, 2019 (*“PSZJ Objection”)
[Docket No. 346]; and (2) California State Lands Commission's
Limited Objection to Application of the Official Committee of
Unsecured Creditors for Authorization to Retain and Employ Conway
Mackenzie, Inc. as Financial Advisor, Effective as of August 16,
2019 (“CM Objection”) [docket no. 347]; and (3) the California State
Lands Commission’s Response to Reply of the Official Committee of
Unsecured Creditors to the PSZJ Objection and CM Objection (*“Reply”
{Docket No. 422].

Buganko opposes the Official Committee of Unsecured Creditors’
applications to employ Pachulski Stang Ziehl & Jones LLP as counsel
to the Official Committee of Unsecured Creditors [Docket No. 214],
and to employ Conway MacKenzie, Inc. as financial advisor to the
Official Committee of Unsecured Creditors [Docket No. 219], for the
reasons set forth in the PSZJ Objection, the CM Objection and the

Reply.

DATED: October JZy 2019 LAW OFFICES OF EN L. ARANT
By:

Karen L. Grant
Attorneys for Buganko, LLC

 
PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
924 Anacapa Street, Suite 1M, Santa Barbara, CA 93101

A true and correct copy of the foregoing document entitled (specify): BUGANKO, LLC’S JOINDER TO:

(1) CALIFORNIA STATE LANDS COMMISSION'S LIMITED OBJECTION TO APPLICATION FOR
ORDER AUTHORIZING AND APPROVING THE EMPLOYMENT OF PACHULSKI STANG ZIEHL & JONES
LLP AS COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS, EFFECTIVE AS OF
AUGUST 16, 2019 [DOCKET NO. 346]; AND (2) CALIFORNIA STATE LANDS COMMISSION’S
LIMITED OBJECTION TO APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
FOR AUTHORIZATION TO RETAIN AND EMPLOY CONWAY MACKENZIE, INC. AS FINANCIAL
ADVISOR, EFFECTIVE AS OF AUGUST 16, 2019 [DOCKET NO. 347]

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
10/22/19, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) 10/22/19, | served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

[-] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 10/22/19 , | served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration

that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Honorable Martin R. Barash

United States Bankruptcy Court

Central District of California

21041 Burbank Boulevard, Suite 342 / Courtroom 303

Woodland Hills, CA 91367

[_] Service information continued on attached page

| declare under penalty of perjury under the laws of the United States that the foregoing istfue and cornet.
10/22/19 Karen L. Grant

Date Printed Name Signature NX

 

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Centra! District of California.

June 2012 F 9013-3.1.PROOF.SERVICE
VIA NOTICE ELECTRONIC FILING (NEF)

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